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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                               COVINGTON DIVISION

 STATE OF TENNESSEE,
 COMMONWEALTH OF KENTUCKY,
 STATE OF OHIO, STATE OF
 INDIANA, COMMONWEALTH OF
 VIRGINIA, and STATE OF WEST
 VIRGINIA,

       Plaintiffs,

 and

 CHRISTIAN EDUCATORS ASSOCIA-
 TION INTERNATIONAL, and A.C., by
                                                   Case No. 2:24-cv-00072-DCR-CJS
 her next friend and mother, Abigail Cross,
                                                   District Judge Danny C. Reeves
       Intervenor-Plaintiffs,                      Magistrate Judge Candace J. Smith

 v.

 DENISE CARTER, in her interim official
 capacity as Secretary of Education, and
 UNITED STATES DEPARTMENT OF
 EDUCATION,
       Defendants,

 and

 A BETTER BALANCE,
       Proposed Intervenor-Defendant.

 and

 VICTIM RIGHTS LAW CENTER and
 JANE DOE,
       Proposed Intervenor-Defendants.


                   THE STATES’ CONSOLIDATED OPPOSITION
           TO THE MOTIONS OF PROPOSED INTERVENOR-DEFENDANTS
             TO INTERVENE AND TO EXTEND THE TIME TO APPEAL
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                                         INTRODUCTION

        The final judgment entered in this case was years in the making. To secure it, the States sub-

mitted comments during the Department of Education’s rulemaking, brought suit, filed an injunction

motion filled with reams of evidence on an emergency timeline, presented in-person testimony at a

motions hearing, defended this Court’s preliminary injunction in emergency appellate proceedings,

and briefed cross-motions for summary judgment. On January 9, 2025, this Court entered a final

judgment vacating the 2024 Title IX Rule as unlawful. The 60-day appeal window ends in mere days.

        Now, two nonprofit groups and a college-age student seek eleventh-hour entry into the case

to take an appeal. They ultimately seek to reinstate certain portions of the 2024 Rule relating to preg-

nancy, sexual harassment, and various procedural requirements governing hearings and complaints.

Such an appellate win, they posit, will spring parts of the 2024 Rule back to life in schools, thus re-

placing other aspects of the now-operative 2020 Rule they oppose and redressing their cited injuries.

        This Court should deny the motions both for lack of Article III standing and on the merits.

        At the outset, Sixth Circuit precedent stresses that a party seeking to intervene to take its own

appeal must have independent Article III standing. No proposed-intervenor clears that bar. A Better

Balance (“ABB”) and the Victims Rights Law Center lack organizational standing because their diver-

sion-of-resources and mission-harm theories of injury are now foreclosed. Doe’s claimed forced-

cross-examination harm from the 2020 Rule contradicts that rule’s plain terms, ignores the Center’s

successful vacatur of a key cross-examination provision of the 2020 Rule in prior litigation, and stacks

speculation on speculation in a way too tenuous to confer a cognizable injury. Nor would any of the

groups’ alleged injuries be redressed by a favorable ruling on appeal in all events, given then interplay

between other Title IX rulings and the Department’s and schools’ independent enforcement and im-

plementation decisions. Proposed-intervenors’ Article III failings are a dispositive basis to deny in-

tervention.
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        The proffered intervention case also fails on its own terms. No form of intervention is proper

given the prejudice that would flow from the parties’ post-judgment entry and their distinct focus on

severability. Each proposed intervenor had many months to try to inject, defend, and brief their

preferred severability route while the summary-judgment stage was still live. Allowing appeals with

proposed-intervenors’ shifted focus would sandbag the States with new arguments to rebut for the

first time on appeal without the benefit of record development. The Center, moreover, has an existing

challenge to the 2020 Rule it now opposes still pending in a different court. That (unacknowledged)

pending case provides the Center and Doe an adequate means other than intervention to protect their

interests. Complications arising from the many alternative Title IX vacatur and injunction rulings, and

proposed-intervenors spliced severability positions, further cut against intervention.

        The States file this opposition two weeks early to help facilitate expeditious resolution of the

intervention motion. Because there is no basis for allowing ABB, the Center, and Doe to intervene

as parties to appeal, there also is no reason to extend the notice of appeal deadline—a step that would

only further prejudice the States’ entitlement to finality.

                                            BACKGROUND

        The States recite only that background relevant to the pending motions. After obtaining and

successfully defending their preliminary injunction, the States continued to seek summary judgment

and vacatur of the 2024 Rule. The parties’ cross-motions mainly focused on whether the Bostock,

sexual-harassment, and de minimis harm provisions violated Title IX, the U.S. Constitution, or the

bar on arbitrary-and-capricious agency action. See Docs. # 126-27, 133-34. As to remedy, the parties

also disputed whether those three provisions were severable from the 2024 Rule’s remainder. Id.

        Meanwhile, as the parties’ cross-summary-judgment motions were pending, and after oral ar-

gument in the Sixth Circuit on the Department’s preliminary injunction appeal, President Trump won


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election on November 5, 2024. His plans for the 2024 Rule on assuming office were no secret: “We’re

gonna end it on Day 1”; “[i]t’ll be terminated.” The Uncertainty Ahead for Title IX and Transgender Students

in Trump’s New Term, Ed Week, (Nov. 21, 2024), https://perma.cc/4P9G-6PYV; see id. (quoting coun-

sel for the Center). Many weeks went by, yet no intervention request came.

        Then, on January 9, 2025, this Court issued an opinion and judgment vacating the 2024 Rule

in its entirety. Docs. # 143, 144. Under the applicable 60-day deadline, the appeal window closes

March 10, 2025. Still more weeks passed. Later, on January 31, 2025, the Department of Education

issued a “Dear Colleague Letter” explaining that it would begin enforcing the 2020 Rule across-the-

board. Off. for Civ. Rts., U.S. Dep’t of Educ., Dear Colleague Letter on Title IX Enforcement 1 (as amended

Feb. 4, 2025), https://perma.cc/2E6D-LH4K; see Nondiscrimination on the Basis of Sex in Education Pro-

grams or Activities Receiving Federal Funding Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (“2020 Rule”).

Subsequently, the U.S. District Court for the Northern District of Texas separately vacated the 2024

Rule nationwide. See Carroll Indep. Sch. Dist. v. U.S. Dep’t of Educ., 4:24-cv-00461-O, Doc. # 86, at 8

(N.D. Tex. Feb. 19, 2025).

        Finally, on February 26, 2025, ABB filed (i) a motion to intervene and (ii) a motion to extend

the appeal deadline. Docs. # 152-53. Two days later, on February 28, 2025, the Victims Rights Law

Center and an anonymous university student did the same; they also sought highly expedited resolu-

tion of their motions, citing their self-created time crunch. Docs. # 164-65. ABB, the Center, and

Doe seek to intervene for purposes of appealing this Court’s vacatur of the 2024 Rule. Their theory

is that, should they prevail on appeal, schools might in turn apply certain provisions of the 2024 Rule

they favor—covering pregnancy, sexual harassment, and hearings—rather than the 2020 Rule.




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        The States filed a notice informing this Court of their intent to respond to ABB’s filings no

later than noon on March 6, 2025. Doc. # 163. For efficiency’s sake, the States now submit this

consolidated opposition to proposed-intervenors’ pending intervention and extension motions.

                                              ARGUMENT

        Post-judgment intervention is improper for threshold reasons and on the merits. Intervenors

must establish their own Article III standing to prosecute an appeal, but these proposed-intervenors

lack standing for several independent reasons. Nor, separately, is late entry appropriate under the legal

and equitable factors governing as-of-right and permissive intervention.

I.      Proposed-intervenors all lack Article III standing, so cannot intervene to appeal.

        The proposed-intervenors seek intervention purely to take an appeal from an already-entered

final judgment. See ABB Br. 1; Center Br. 3. In this scenario, would-be intervenors must establish

standing. But these proposed-intervenors have not. Intervention is thus improper.

        A.      Post-judgment intervenors must establish Article III standing to appeal.

        “A party may not invoke the federal judiciary’s coercive powers against an adversary unless

their dispute has taken the shape of the ‘Cases’ or ‘Controversies’ that fall within Article III’s text.”

Tenn. Conf. of the NAACP v. Lee, 105 F.4th 888, 901 (6th Cir. 2024). And that bedrock requirement is

not satisfied “unless the plaintiff has standing to sue.” Id. at 902. To establish standing, proposed-

intervenors need to prove three elements as a matter of law—that they have “suffered (or will suffer)

a ‘concrete and particularized’ injury; that a ‘causal connection’ exists between the injury” and the

challenged conduct; and that “the requested remedy will redress the injury.” Id. (quoting Lujan v. Defs.

of Wildlife, 504 U.S. 555, 561 (1992)); see McKay v. Federspiel, 823 F.3d 862, 867 (6th Cir. 2016).

        In active district-court litigation between parties, intervenors may sometimes enter a case with-

out showing their own standing. By contrast, “intervenors must establish Article III standing if they

wish to appeal the outcome of a lawsuit” independent of the original parties. Chapman v. Tristar Prods.,
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Inc., 940 F.3d 299, 304 (6th Cir. 2019). Supreme Court and this Circuit’s caselaw spells out that obli-

gation,1 which can alone support denying intervention, see, e.g., Chapman, 940 F.3d at 302-03; Ctr. for

Powell Crossing LLC v. Ebersole, 696 F. App’x 702, 704 (6th Cir. 2017). ABB thus errs when it claims

(at 16) that “[a]t this juncture, it does not need Article III standing.”

        The Center and Doe at least acknowledge (at 6) that “Article III standing” is “necessary to

appeal where no original party is doing so.” But they then insist (at 4 n.3) that they need only satisfy

the “motion to dismiss” plausibly standard, citing a lone district court decision that’s decades old.

That position conflicts with the textbook standing rule that “each element” of standing “must be

supported . . . with the manner and degree of evidence required at the successive stages of the litiga-

tion.” Lujan, 504 U.S. at 561. Here, the Center and Doe seek to intervene following entry of judgment.

In intervention-for-appeal cases similarly postured, the Supreme Court and Sixth Circuit have required

would-be intervenors to “bear the burden of establishing” their standing using “record evidence” or

other factual support. Wittman v. Personhuballah, 578 U.S. 539, 545 (2016) (emphasis added); Virginia

House of Delegates v. Bethune-Hill, 587 U.S. 658, 670 (2019); accord Diamond, 476 U.S. at 67.

        In short, ABB incorrectly dismisses any standing showing as unnecessary while the Center and

Doe misreport what their standing burden requires. Though these legal errors infect both groups’

intervention cases, their standing arguments would fail under any arguable burden.


        1
          See id.; see also Diamond v. Charles, 476 U.S. 54, 56, 62 (1986) (“The standing Article III requires
must be met by persons seeking appellate review,” so “[a]n intervenor cannot step into the shoes of
the original party unless the intervenor independently ‘fulfills the requirements of Article III’”); Grae
v. Corr. Corp. of Am., 57 F.4th 567, 569 (6th Cir. 2023) (“If the original parties to a case don’t appeal
the district court’s decision,” intervenors “must have standing” to “step into the shoes of the original
parties.” (cleaned up)); Cherry Hill Vineyards LLC v. Lilly, 553 F.3d 423, 428 (6th Cir. 2008) (“[A]n
intervenor seeking to appeal, like any other party, must fulfill the requirements of Article III of the
Constitution before it can continue to pursue an action in the absence of the party on whose side
intervention was permitted.”); Assoc. Builders & Contractors v. Perry, 16 F.3d 688, 690 (6th Cir. 1994)
(“[A]n intervenor seeking to appeal must have standing under Article III of the Constitution entitling
it to have the court decide the merits of the dispute.”).
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        B.      ABB and the Center do not establish an injury-in-fact.

        ABB and the Center are private nonprofit organizations who provide advocacy and legal ser-

vices. See Doc. # 162-2 (“ABB Decl.”) ¶¶ 2-5; Doc. # 164-2 (“Center Decl.”) ¶¶ 6-8. The groups are

not regulated by Title IX directly; the implementing regulations “neither require nor forbid any action

on [their] part.” NAACP, 105 F.4th at 902 (quoting Summers v. Earth Island Inst., 555 U.S. 488, 493

(2009)). They instead challenge how the Department is regulating “someone else,” making their stand-

ing burden “substantially more difficult” to carry. Id. (quoting Lujan, 504 U.S. at 562).

        Because “Article III requires more than a desire to vindicate value interests,” ABB and the

Center must demonstrate that they have a “concrete injury” stemming from this Court’s vacatur de-

cision. Diamond, 476 U.S. at 66 (citation omitted). “[P]olicy views” favoring the 2024 Rule over the

2020 Rule do not confer standing. Chapman, 940 F.3d at 307; cf. ABB Br. 5-7; Center Br. 2-3. And

their remaining asserted injuries fail on law and fact alike.

                        1. The diversion-of-resources allegations do not support standing.

        ABB (exclusively) and the Center (largely) hinge their organizations’ standing on a diversion-

of-resources theory. Each group claims that this Court’s final judgment, by vacating the 2024 Rule,

has in turn prompted the Department to return to enforcing the 2020 Rule; the groups say that dy-

namic will require them to “expend” “more time” and “more resources” providing advocacy and

advice about the requirements of Title IX. See ABB Br. 17 (quoting ABB Decl. ¶¶ 25, 30); Center Br.

10-11 (citing Center Decl. ¶¶ 13, 27). They say that this drain on resources will “reduce” their ability

to operate “other programs” and pursue “other ends.” ABB Br. 17; Center Br. 11.

        Though perhaps sufficient in the past, such allegations do not survive the Supreme Court’s

decision in FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024). There, various medical asso-

ciations challenged FDA regulations that made it easier for pregnant women to obtain an abortion pill


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called mifepristone. Id. at 372-74, 394. The groups claimed they had organizational standing because

the challenged “FDA regulations” were “forcing them to devote extra time and expense to informing

the public about the risks of the abortion drug” and made public education “more difficult.” NAACP,

105 F.4th at 905 (citation omitted); All. for Hippocratic Med., 602 U.S. at 367. But the Supreme Court

disagreed, instead directing that “an organization that has not suffered a concrete injury caused by a

defendant’s action cannot spend its way into standing simply by expending money to gather infor-

mation and advocate against the defendant’s action.” All. for Hippocratic Med., 602 U.S. at 394.

        The Sixth Circuit has since been clear about the import of the Supreme Court’s standing hold-

ing: It is no longer “enough to broadly gesture toward a ‘drain on an organization’s resources’ and call

it a day, as some of our pre-Alliance cases have done.” Fair Housing Ctr. of Metro. Detroit v. Singh Senior

Living, LLC, 124 F.4th 990, 993 (6th Cir. 2025). That is, an organization cannot merely rest on “indi-

rect ‘pocketbook’ harm”—i.e., the claim that a law makes an organization’s “efforts more costly by re-

quiring it to spend ‘extra time and money’ on those efforts.” NAACP, 105 F.4th at 905.

        Like the medical associations in Alliance for Hippocratic Medicine, ABB and the Center lack stand-

ing because they suffer no concrete injury from reversion back to the 2020 Rule. At most, their

resource-diversion theory shows that they will voluntarily expend resources assisting and “advis[ing]

others how to comport with” Title IX regulations. Fair Elections Ohio v. Husted, 770 F.3d 456, 460 (6th

Cir. 2014). But groups cannot “manufacture [their] own standing” in that manner by voluntarily

spending resources to counteract or address regulations that do not concretely harm the organizations

themselves. All. for Hippocratic Med., 602 U.S. at 394; accord Ariz. All. for Retired Americans v. Mayes, 117

F.4th 1165, 1175 (9th Cir. 2024) (noting that Hippocratic Medicine forecloses theory that “an organiza-

tion suffers cognizable harm because it voluntarily spends money to further its goals”).




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        Indeed, accepting the proffered diversion-of-resources theory here would create the free-for-

all the Supreme Court warned against in Hippocratic Medicine: That “all the organizations in America

would have standing to challenge almost every federal policy that they dislike, provided they spend a

single dollar opposing those policies.” 602 U.S. at 395. Any organization can generate arguments

about how new legal rules (or their absence) would “make it more difficult” to inform stakeholders

about the law or advocate on behalf of particular clients. ABB Br. 17. Accepting that “expansive

theory of standing” would defy the limited role of federal courts, All. for Hippocratic Med., 602 U.S. at

395, and “separation-of-powers principles,” Clapper v. Amnesty Int’l, 568 U.S. 398, 408 (2013).

                        2. Havens Realty Corp. v. Coleman does not support standing.

        Citing Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), ABB (at 17) and the Center (at 6)

say they have standing because vacatur of the 2024 Rule impairs their “missions.” Not so.

        To begin, Havens was an “unusual case” that the Supreme Court “has been careful not to

extend.” All. for Hippocratic Med., 602 U.S. at 396. The organizational plaintiff there (“HOME”) “op-

erated a housing counseling service” that existed alongside the organization’s issue-advocacy efforts.

Id. Under federal law, and unlike here, HOME itself enjoyed a “broad legal right” to “truthful infor-

mation concerning the availability of housing”—“a right that cu[t] to the core” of its counseling-and-

referral services. Fair Elections, 770 F.3d at 460 n.1 (citation omitted). So when the defendant directly

gave false information to HOME, that “perceptibly impaired HOME’s ability to provide [its] coun-

seling and referral services.” Havens, 455 U.S. at 379. A similar “informational injury,” the Sixth

Circuit noted, might apply to similar groups in receipt of “false information” that harms their ability

to provide services. Fair Housing Ctr. of Metro. Detroit, 124 F.4th at 993 (cited at ABB Br. 17; Center

Br. 6). But in all events, under Havens, “a defendant’s actions must have directly affected and interfered

with” a group’s “core business activities.” All. for Hippocratic Med., 602 U.S. at 395.


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        Havens thus rests on two premises—(1) HOME operated its own business separate from its

advocacy efforts, and (2) the challenged conduct directly interfered with that business’s legal right to

truthful information under federal law. 455 U.S. at 378-79. Here, each organizational intervenor falls

outside Havens’ “narrow domain.” NAACP, 105 F.4th at 903.

        A Better Balance. ABB operates no business akin to HOME’s counseling agency. The Court

in Havens found it “critica[l]” that HOME’s “housing counseling service” suffered a “direc[t] injury to

its own statutorily protected “legal right.” All. for Hippocratic Med., 602 U.S. at 395; Fair Elections, 770

F.3d at 460 n.1. ABB by contrast describes itself a “legal advocacy organization.” ABB Decl. ¶ 2. It

does not run a business whose legal rights the 2020 Rule impairs; unlike the challenged action in

Havens, the rule change affects ABB only indirectly.

        Moreover, ABB’s cited “mission” harm is that it now must “expend ‘more time and other

resources to counsel student callers’” that it “could otherwise devote to other ends.” ABB Br. 17.

But that merely repackages the organization’s failed diversion-of-resources theory. Nothing about a

change from the 2024 Rule to the 2020 Rule frustrates the substance of ABB’s advocacy and counsel-

ing work—to the contrary, the group can “still” advise interested parties about what relevant laws

require, “[w]ith or without” the 2024 Rule in effect. Ariz. All., 117 F.4th at 1178. Nor does ABB

possess an independent “legal right” to obtain particular Title IX information. Fair Elections, 770 F.3d

at 460 n.1. ABB’s argument is thus unlike the “narrow” theory in Havens, where the false provision of

information directly harmed HOME’s ability to operate its counseling-services business and HOME

thereafter sought damages. See NAACP, 105 F.4th at 902-05.

        The Center. For similar reasons, Havens does not license the Center’s “mission” harm theory

either. Center Br. 8-9. The Center invokes its interest in receiving certain Title IX-related ‘infor-

mation.’ See Center Decl. ¶ 14. But as with ABB, the Center does not allege its own statutory


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entitlement to accurate Title IX information. There is thus no cognizable “informational injury.” All.

for Hippocratic Med., 602 U.S. at 395-96 (citing Fed. Election Comm’n v. Akins, 524 U.S. 11 (1998)).

        Otherwise, the Center’s “frustration of purpose” argument (at 7) posits that stricter Title IX

rules will make student victims more hesitant to file and prosecute complaints, which in turn will lead

to a reduction in “requests for [the Center’s] services,” which ultimately will harm the Center’s mission

to provide legal assistance to “student survivors.” The Center then gives (at 9-10) several reasons why

it favors the 2024 Rule as a policy matter over the 2020 Rule, which it alleges has led to “decreased

deterrence of sex-based harassment.” And it proffers statistics that it says show a decline in Title IX

complaints following the 2020 Rule and this Court’s vacatur order. See Center Decl. ¶ 11.

        Even accepting all that, nothing about the reversion to the 2020 Rule precludes the Center

from engaging in the legal work it typically performs. It can “still” advise on sexual-based harassment

issues “[w]ith or without” the 2024 Rule in effect, meaning its mission stands. Ariz. All., 117 F.4th at

1178. And it can still represent victims who choose to carry forward their complaints. To be sure,

the 2020 Rule imposes different requirements the Center must account for when assisting alleged

victims of Title IX misconduct. See Center Decl. ¶¶ 17, 19, 21-22. But those requirements do not

impede the Center’s work, and the Center “cannot establish its standing merely through its ‘legal,

moral, ideological, or policy’ disagreement” with the 2020 Rule’s different approach. NAACP, 105

F.4th at 902 (quoting All. for Hippocratic Med., 602 U.S. at 381); cf. Chapman, 940 F.3d at 307.

        The Center’s contrary reliance (at 7) on district court decisions in Massachusetts and California

is not persuasive. (Citing Victim Rts. L. Ctr. v. Cardona, 552 F. Supp. 3d 104, 126 (D. Mass. 2021);

SurvJustice Inc. v. DeVos, 2018 WL 4770741, at *6 (N.D. Cal. Oct. 1, 2018), order amended, 2019 WL

1434144, appeal dismissed, 2023 WL 9847714). The former cites the latter in holding that Havens-qual-

ifying harm triggers whenever an “organization focused on assisting” clients experiences “a reduction


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in requests for its services.” Victim Rts. L. Ctr., 552 F. Supp. 3d at 126 (citing SurvJustice Inc., 2018 WL

4770741, at *6-7). Neither case points to any authority for the perverse proposition that the Center

has its own, cognizable interest in keeping the instances of Title IX harassment high.

        Such reasoning flouts Hippocratic Medicine. It would license organizational standing whenever

regulatory changes lead to increased (in Hippocratic Medicine) or decreased (allegedly here) service re-

quests to an organization. But on that view, any organization—from legal-aid groups, to immigrant-

rights organizations, to unions, to pro- and anti-abortion centers, and more—could challenge any

alteration of a substantive legal standard that affects third-party demand for their services. Cf. Habeas

Corpus Res. Ctr. v. U.S. Dep’t of Just., 816 F.3d 1241, 1250 (9th Cir. 2016) (rejecting standing theory that

would “permit attorneys to challenge any governmental action or regulation when doing so would

make the scope of their clients’ rights clearer and their strategies to vindicate those rights more easily

selected”). That “approach to standing” is “flatly inconsistent with Article III.” All. for Hippocratic

Med., 602 U.S. at 392.

        C.      Doe does not establish an injury-in-fact.

        Proposed-intervenor Doe alleges that she filed a formal Title IX complaint after being sexually

assaulted at an unidentified “state university” in Massachusetts and is now participating in a Title IX

investigation. Doe Decl. ¶¶ 1, 2, 20. Her standing theory turns on a premise about how the 2020

Rule will “have to” operate. Id. ¶ 19. Doe reiterates (at Br. 11-13; Decl. ¶¶ 16-18) that the 2020 Rule

“now requires her to be cross-examined” at a live hearing as part of the investigation of her claim—

something that makes her “scared, anxious, and overwhelmed.” Doe Decl. ¶ 18. If she declines, Doe

alleges (at Br. 13), she will suffer a separate “injury” because her failure “will likely make her look less

credible to the Title IX decision-maker, which in turn reduces her changes” of prevailing on her claim.

For two independent reasons, Doe’s injury arguments are unavailing.


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        First, it is demonstrably false that the 2020 Rule will “require” or “force” Doe to submit to

cross-examination or else risk harm to her Title IX case. Center Br. 11-13. Inexplicably, Doe’s alle-

gations about the 2020 Rule ignore a prior order the Center won vacating 34 C.F.R. § 106.45(b)(6)(i)

(2020),2 which was the key cross-examination provision of the 2020 Rule. See Victim Rts. L. Ctr., 552

F. Supp. 3d at 118, 132-33, clarified by 2021 WL 3516475 (vacating “section 106.45(b)(6)(i)’s prohibition

on all statements not subject to cross-examination” nationwide) (cited at Center Br. 7, 8, 10, 12). The

Center and plaintiff “Mary Doe” had challenged that requirement in the U.S. District Court for the

District of Massachusetts. As a result, and as the Center well knows, the 2020 Rule cannot be read to

bar “reliance on statements of a party who did not submit to cross-examination.” Id. at 120.

        Though Texas sought to appeal that decision, the Massachusetts vacatur order has not been

disturbed. See Victim Rts. L. Ctr. v. Texas, 1st Cir. No. 21-1777. And it precludes Doe’s principal

allegation—i.e., that the 2020 Rule means she must submit to cross-examination or risk having her

statements excluded. Doe Decl. ¶¶ 16-18. Nor, contra Doe’s contentions, can her failure to attend

the hearing or answer questions be held against her: Under the plain text of the 2020 Rule, no Title

IX decision-maker may “draw an inference” from Doe’s “absence from the live hearing or refusal to

answer cross-examination or other questions.” 34 C.F.R. § 106.45(b)(6)(i) (2020); accord Dep’t of

Educ., Letter re: Victims Rts. Law Ctr. et al. v. Cardona 1-2 (Aug. 24, 2021), https://perma.cc/LVH6-

LBA4. So Doe’s mandatory cross-examination and loss-of-credibility concerns both would involve a

school administrator violating the operative 2020 Rule, not following it.

        Second, Doe’s asserted future injury impermissibly rests on a “highly attenuated chain of pos-

sibilities.” Clapper, 568 U.S. at 410. It is uncertain whether the April 2025 hearing will occur, whether

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         That provision states, in relevant part, that “[i]f a party or witness does not submit to cross-
examination at the live hearing, the decision-maker(s) must not rely on any statement of that party or
witness in reaching a determination regarding responsibility.” 34 C.F.R. § 106.45(b)(6)(i) (2020).
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Doe will opt to testify even though (as just discussed) her absence cannot be held against her, whether

unidentified school administrators will require her to answer cross-examination questions despite the

2020 Rule’s contrary instruction, and whether respondent’s representative will opt to engage in cross-

examination. Doe’s injury is thus too “speculative” to support standing as a matter of law. Id.

        D.      Regardless, independent factors foreclose traceability and redressability.

        To satisfy Article III, any demonstrated injury also must be fairly traceable to the complained-

of action and redressable by a ruling against it. Causation and redressability are “flip sides of the same

coin,” Somberg v. McDonald, 117 F.4th 375, 378 (6th Cir. 2024) (citation omitted), and are not shown

unless “a judicial decree can provide ‘prospective relief’ that will ‘remove the harm,’” Doe v. DeWine,

910 F.3d 842, 850 (6th Cir. 2018) (quoting Warth v. Seldin, 422 U.S. 490, 505 (1975)).

        All of the proposed-intervenors’ asserted injuries flow from the renewed effect of the 2020

Rule. To demonstrate traceability and redressability, they therefore must show (i) that this Court’s

vacatur of the 2024 Rule is indeed the cause of the 2020 Rule’s taking effect and (ii) that reversing this

Court’s vacatur decision would render the 2024 Rule operative again in schools. Three independent

factors foreclose what proposed-intervenors’ standing theory requires.

                        1. Other decisions vacating and enjoining the 2024 Rule.

        Other judicial decisions account for the 2020 Rule’s effect—not just this Court’s order. “So

even if” proposed-intervenors prevailed on their appellate arguments, “nothing about that” appellate

decision “would stop” their complained-of harms. Somberg, 117 F.4th at 379. Redressability fails.

        To begin, the entire 2024 Rule has been vacated nationwide by at least one other court. See

Carroll Indep. Sch. Dist. v. U.S. Dep’t of Educ., 4:24-cv-00461-O, Doc. # 86, at 8 (N.D. Tex. Feb. 19,

2025). Proposed-intervenors point this Court to a status report from that case, ABB Br. 5, 16; Center

Br. 17. Yet they fail to mention the subsequent vacatur, which provides an independent basis for their


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claimed harms outside the scope of any appeal here. To demonstrate redressability and thus standing,

then, proposed-intervenors must successfully intervene and prevail on appeal in Texas and any other

subsequent case vacating the 2024 Rule. It is “too speculative” that proposed-intervenors could string

together an unbroken streak of multi-court victories, particularly when they have alleged no facts

showing that they can or will try. Clapper, 568 U.S. at 401.

        The 2024 Rule moreover remains subject to an independent series of geographic and school-

specific preliminary injunctions. Those injunction decisions together mean that over half of the

States,3 and “thousands of individual schools across the country” from K-12 through college, Appel-

lant Br. of Dep’t, Kansas v. U.S. Dep’t of Educ., No. 24-3097, 2024 WL 4024782, at *3 (Aug. 26, 2024),

would continue to operate under the 2020 Rule until some unforeseen point. Again, any appeal from

this Court’s judgment would not affect those independent injunctions. But neither ABB nor the Cen-

ter addresses—let alone adduces sufficient facts to demonstrate—how their harms are redressable

when a patchwork of preliminary injunctions would continue to maintain the 2020 Rule throughout

the country’s schools.

        For Doe, it is no response that Massachusetts falls outside the State-limited preliminary in-

junctions. As mentioned, one existing injunction operates on a school-specific basis. And many of Mas-

sachusetts’ “state schools” of higher education—including a majority of University of Massachusetts

undergraduate campuses—are covered. Compare Doe Decl. ¶ 1, with Kansas v. U.S. Dep’t of Educ., Docs.


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          Alabama v. U.S. Sec’y of Educ., No. 24-12444, 2024 WL 3981994, at *9 (11th Cir. Aug. 22,
2024) (Alabama, Florida, Georgia, and South Carolina) ; Louisiana v. U.S. Dep’t of Educ., 737 F. Supp.
3d 377, 410 (W.D. La. 2024) (Louisiana, Mississippi, Montana, and Idaho), Kansas v. U.S. Dep’t of Educ.,
739 F. Supp. 3d 902, 936-37 (D. Kan. 2024) (“Kansas, Alaska, Utah, Wyoming, [Plaintiff’s] school,
the schools attended by the members of Young America’s Foundation or Female Athletes United, as
well as the schools attended by the children of the members of Moms for Liberty”); Texas v. United
States, 740 F. Supp. 3d 537, 559 (N.D. Tex. 2024) (Texas); Arkansas v. U.S. Dep’t of Educ., 742 F. Supp.
3d 919, 951 (E.D. Mo. 2024) (Arkansas, Missouri, Iowa, Nebraska, North Dakota, and South Dakota);
Oklahoma v. Cardona, 743 F. Supp. 3d 1314, 1333 (W.D. Okla. 2024) (Oklahoma).
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# 67-2, 80-2, 98-2 (listing colleges subject to Kansas’s preliminary injunction of the 2024 Rule); Univ.

of Mass., Campus Overviews, https://perma.cc/2HLC-DTC4 (last visited Mar. 5, 2025). Because it is

incumbent upon Doe to demonstrate redressability, she needed to put forward “specific facts” to

“establish[]” that she does not attend one of the many injunction-covered schools in Massachusetts.

NAACP, 105 F.4th at 905; Wittman, 578 U.S. at 545. Those facts are absent. Also missing are any

facts to link her school’s prior Title IX policy to its lawful choice to follow the 2024 Rule, rather than

a lack of awareness of or failure to implement the Kansas court’s preliminary injunction.

        The upshot: Even if proposed-intervenors managed to prevail on the merits of an appeal, the

2024 Rule would remain vacated and enjoined by multiple, overlapping decisions from other courts

that are not subject to appellate challenge. That dynamic defeats traceability and redressability.

                        2. The Department’s enforcement discretion.

        Proposed-intervenors’ reliance (at ABB Br. 4, Center Br. 2, 17, 21) on the Department’s Dear

Colleague Letter further undercuts their redressability showing. That letter clarifies that, as it stands,

that the Department “will enforce Title IX under the provisions of the 2020 Title IX Rule, rather than

the 2024 Title IX Rule.” Dear Colleague Letter, supra, at 1. The Department explains that its enforce-

ment stance reflects not only this Court’s vacatur of the 2024 Rule, but also the Department’s need to

align Title IX enforcement with a January 20, 2025 Executive Order. Id. at 1-2.

        There is no indication in the Dear Colleague Letter that the Department will take a different

enforcement position should this Court’s vacatur decision be reversed. To the contrary, its reasoning

would apply equally to the Texas vacatur ruling already discussed. See supra p. 13. And the need to

align Title IX enforcement with President Trump’s Executive Orders is an enforcement justification

independent from any vacatur decision. Yet this case involves only the issue of the 2024 Rule’s




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validity, not any distinct exercise of the Department’s “enforcement choices” through separate agency

actions not presently subject to challenge. United States v. Texas, 599 U.S. 670, 679-80 (2023).

                        3. Schools’ independent choice to offer certain hearing procedures.

        Proposed-intervenors also cannot establish causation and redressability because applicability

of the 2020 Rule, rather than the 2024 Rule, reflects the “result [of] the independent action of some

third party not before the court.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Standing is

“substantially more difficult” to establish on such theories, and this case is no exception. Id. at 562.

        The Department has by now provided its independent view that the 2020 Rule is better re-

flective of what Title IX and due process require. And many schools have already chosen or are

required to implement cross-examination procedures absent the Rule. See, e.g., Doe v. Univ. of Scis., 961

F.3d 203, 214-15 (3d Cir. 2020); Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018). So to prevail, pro-

posed-intervenors must establish that school administrators would buck the Department’s direction,

risk liability from respondents, and continue to apply the 2024 Rule despite contrary enforcement

warnings. They have not provided sufficient factual support for any of those propositions, leaving

this Court only to guess at the import of any appellate decision. Such “speculation about the decisions

of independent actors” fails to show causation and redressability as a matter of law. Clapper, 568 U.S.

at 414. Yet proposed-intervenors have not provided sufficient support for the proposition that

schools would indeed continue to enforce the 2024 Rule even were this Court’s decision vacated.

II.     Separately, the intervention factors warrant denying proposed-intervenors’ motions.

        Lack of standing itself warrants rejecting proposed-intervenors’ participation for appeal. Supra

Part. I. But to address all dispositive issues, this Court can and should alternatively hold that the Rule

24 factors likewise foreclose intervention as a matter of law and under “inherently discretionary con-

siderations of equity and judicial economy.” See, e.g., Ctr. for Powell Crossing, LLC v. City of Powell, No.


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1:14-cv-2207, 2016 WL 3384298, at *3-4 (S.D. Ohio June 20, 2016) (alternative standing and Rule 24

holdings), aff’d, 696 F. App’x 702 (6th Cir. 2017); 6 Moore’s Fed. Prac. Civil § 24.10.

        Prejudicial delay. Because intervention requests must be “timely,” Fed. R. Civ. P. 24(a), (b)(1),

undue delay provides sufficient reason to deny both mandatory and permissive intervention, see United

States v. Michigan, 68 F.4th 1021, 1024 (6th Cir. 2023) (quotation omitted). While filing within the

appeal window can be one factor favoring timeliness, see ABB Br. 8; Center Br. 14, it is not controlling.

Instead, “[t]he most important consideration in deciding whether a motion for intervention is untimely

is whether the delay in moving for intervention will prejudice the existing parties to the case.” 7C

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1916 (3d ed.). Other relevant

“circumstances” to assess include “(1) the stage of the proceedings; (2) the purpose for the interven-

tion; [and] (3) the length of time that the movant knew or should’ve known of its interest in the case.”

Michigan, 68 F.4th at 1024-25.4 “Timeliness is to be determined from all the circumstances” by the

court “in the exercise of its sound discretion.” NAACP v. New York, 413 U.S. 345, 366 (1973).

        Start with the prejudice to the States. Prejudice occurs when a movant’s entry “would add a

complicated issue to the litigation” that goes “beyond the scope of the suit’s initial focus.” United

States v. Tennessee, 260 F.3d 587, 594 (6th Cir. 2001); see Salem Pointe Cap., LLC v. BEP Rarity Bay, LLC,

854 F. App’x 688, 699 (6th Cir. 2021). That limit reflects the “usual procedural rule[]” that an “inter-

venor is admitted to the proceeding as it stands, and in respect of the pending issues, but is not per-

mitted to enlarge those issues or compel an alteration of the nature of the proceeding.” Vinson v.

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           Need for a situation-specific approach to intervention belies proposed-intervenors’ attempt
(at ABB Br. 11, Center Br. 5) to compare their eleventh-hour, post-judgment ask to Intervenor-Plain-
tiffs’ intervention motion, Doc. # 21; cf. 6 Moore’s Fed. Prac. Civil § 24.21 (noting that post-judgment
intervention is “generally disfavored”). That motion occurred at the outset of the case, came only
days after the Final Rule was promulgated, and did not inflict the prejudice now present. Inapt too
are other cited cases, like Jansen v. City of Cincinnati, 904 F.2d 336, 341 (6th Cir. 1990) (cited at Center
Br. 14), that permitted intervention at earlier stages in district-court proceedings.
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Washington Gas Light Co., 321 U.S. 489, 498 (1944). The Center agrees (at 16) that whether an interve-

nor “seek[s] to expand the scope of issues before the court” is an important consideration.

        Here, though, proposed-intervenors seek to fundamentally shift the focus of this appeal from

one about the merits of the 2024 Rule’s central gender-identity and harassment provisions to the

continued operability of certain other provisions the Department never meaningfully addressed. As

far as the States can tell, any appeal would center on advancing different severability arguments over

provisions scattered throughout the lengthy Final Rule. But to this point, severability has been a

second-order remedial issue flowing from this Court’s principal assessment of the 2024 Rule’s Bostock,

sexual-harassment, and de minimis provisions. The Department, and thus the States, “frame[d] the

issues” as such. United States v. Sineneng-Smith, 590 U.S. 371, 375 (2020). The proposed-intervenors

thus can only “step into the shoes” of the Department, not advance new appellate theories. Grae v.

Corrs. Corp. of Am., 57 F.4th 567, 569 (6th Cir. 2023). If proposed-intervenors had sought to advance

their distinct severability arguments earlier, the States would have had the ability to provide responsive

legal brifing and additional severability evidence. Yet the requested late-in-the-day intervention strips

the States of that opportunity. That is textbook prejudice, which is fatal to the intervention motion.

Tennessee, 260 F.3d at 594; see Michigan, 68 F.4th at 1028.

        Closely related to prejudice is the stage-of-the-proceedings factor. “This factor weighs against

intervention when movants request party status during the final stages of litigation.” Michigan, 68 F.4th

at 1025. The Sixth Circuit has held that “[l]itigation is in its final stages when the district court has

already ruled on dispositive motions,” and “closed discovery.” In re Auto. Parts Antitrust Litig, 33 F.4th

894, 901 (6th Cir. 2022) (internal citations omitted). Of course, “those benchmarks ha[ve] long passed

in this case.” Id. The proceedings in this Court are not just at their final stages; they are over.




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        Finally, proposed-intervenors should have long known of their interest in intervening. “An

entity that is aware that its interests may be impaired by the outcome of the litigation is obligated to

seek intervention as soon as it is reasonably apparent that it is entitled to intervene.” Tennessee, 260

F.3d at 594 (citing NAACP v. New York, 413 U.S. at 367); see Blount-Hill v. Zelman, 636 F.3d 278, 285-

86 (6th Cir. 2011); Cuyahoga Valley Ry. Co. v. Tracy, 6 F.3d 389, 396 (6th Cir. 1993). As discussed, all

would-be intervenors should have been on notice of a likely Department position change starting in

early November 2024 with President Trump’s election. See supra p. 2-3. Yet “[i]nstead of seeking to

intervene promptly after” that point, proposed-intervenors “did not act, but instead waited” for well

over three months and until after entry of final judgment. Blount-Hill, 636 F.3d at 285-86. That delay

further cuts against timeliness. It also distinguishes this case from others in which post-judgment

intervenors sought entry “as soon as it became clear that [their] interests would no longer be protected

by the parties.” Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 279-80 (2022) (citation

omitted) (quoted at Center Br. 16).

        Alternative avenues to protect interests. To intervene as of right, proposed-intervenors must demon-

strate that denying intervention would “impair or impede” their ability “to protect [their] interest.”

Fed. R. Civ. P. 24(a)(2). But in the Center and Doe’s case, they neglect to address a clear alternative

avenue for protecting against the 2020 Rule: The Center’s still-live case directly challenging the 2020

Rule’s harassment provisions and procedures. See Victim Rts. L. Ctr. v. Carter, 1st Cir. No. 21-1782.

After the Massachusetts district court entered a decision upholding in part and vacating in part the

2020 Rule, the Center appealed in order to argue against largely the same provisions of the 2020 Rule

it now targets in its intervention motion. Though that appeal was later placed into abeyance, it was

never dismissed. See Defendants-Appellees’ Status Report 3, id. (Feb. 1, 2025) (noting appeal contin-

ues to “remain in abeyance”). By prevailing there, the Center will achieve directly what an appellate


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decision here could not—vacating the provisions of the 2020 Rule it and Doe disfavor. It is difficult

to see a cleaner way for the Center to “protect its interest” (and Doe’s) in challenging the 2020 Rule’s

sexual-harassment provisions than prosecuting its still-pending challenge to the 2020 Rule’s sexual-

harassment provisions. Fed. R. Civ. P. 24(a)(2).

        Complicating effect of other Title IX cases. The Center and Doe claim that, even if prejudice results

from their intervention, it is outweighed by the interests in “avoiding multiplicity of litigation” about

the 2024 Rule. Center Br. 23. But as set out earlier, this Court’s decision does not resolve the 2024

Rule’s legality given the existence of alternative vacatur and injunction orders. See supra p. 13-15.

Contrary to proposed-intervenors’ contentions, their case for intervention works only if they are able

to intervene and successfully prevail in “numerous similar lawsuits.” Center Br. 23-24. So this is not

a case in which intervention would permit resolution of competing legal positions from across cases

in a single lawsuit. To the contrary, given the overlapping vacatur orders and injunctions, intervention

in this case would not resolve even these proposed-intervenors’ legal rights vis-à-vis the 2024 and

2020 Rules. On proposed-intervenors’ own terms, the complicating effect of other Title IX cases on

their rights cuts against permitting post-judgment intervention.

        Other discretionary factors. In its discretion, this Court also can consider whether proposed-in-

tervenors would be well positioned to advance the arguments they seek and could obtain relief.

        On both fronts, neither of the proposed-intervenor groups has explained whether and how it

intends to address the pervasive flaws with the 2024 Rule’s core Bostock, sexual-harassment, and de

minimis provisions. Neither ABB, the Center, nor Doe claim an intent to challenge this Court’s cen-

tral merits reasoning; indeed, the Center and Doe disclaim (at Br. 4 n.2) that they have standing to

challenge the Bostock or de minimis provisions. But the Court’s merits reasoning is linked with the

scope of relief, since this Court correctly ruled that the entire 2024 Rule is “arbitrary and capricious”


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because the Department’s unlawful focus on the Bostock, sexual-harassment, and de minimis harm

provisions overrides any of the rule’s other justifications and benefits. Doc. # 143, at 1. So the

proposed-intervenors’ filings at best leave questions about whether their arguments will tee up sever-

ability in a way that would inhibit full judicial assessment. Cf. Ohio v. EPA, 603 U.S. 279, 295 (2024)

(agency’s arbitrary-and-capricious approach foreclosed severability). At worst, they demonstrate that

proposed-intervenors could not obtain full relief. Neither helps proposed-intervenors’ cause.

III.   Because proposed-intervenors cannot properly intervene, their motions to extend the
       appeal deadline also fail.

       The pending intervention motions should be denied. If this Court agrees and issues a denial

order before the expiration of the appeal deadline on March 10, 2025, then the proposed-intervenors’

motions to extend the appeal deadline, Docs. # 153, 165, and the Center’s motion to expedite, Doc.

# 166, may be denied as moot. Otherwise, the motions should be denied on the merits because only

“a party” is entitled to an extension of the jurisdictional time to appeal. See Fed. R. App. P.

4(a)(5)(A)(i)-(ii). Because none of the proposed-intervenors has demonstrated that it satisfies the fac-

tors needed to intervene and become a party, none may obtain an extension of the appeal deadline.

The extension motions should thus be denied.

                                           CONCLUSION

       For the reasons given above, this Court should deny ABB’s, the Center’s, and Doe’s motion

to intervene for several independent reasons:

       First, the proposed-intervenors each lack Article III standing, as needed to intervene for pur-

poses of pressing an independent appeal. Supra Part I. ABB and the Center lack organizational stand-

ing because their asserted diversion-of-resources and mission-frustration harms do not constitute a

cognizable injury-in-fact, particularly after the Supreme Court’s Hippocratic Medicine decision. Supra

Part I.B. Nor does Doe’s injury about being “required” to submit to cross-examination survive

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scrutiny following vacatur of the cross-examination provisions of the 2020 Rule and the 2020 Rule’s

express terms barring any adverse inference from a party’s failure to submit to cross-examination

questions. Supra Part I.C.

        ABB’s, the Center’s, and Doe’s alleged harms also are not fairly traceable to this Court’s vaca-

tur order or redressable by a favorable appellate decision. Supra Part I.D. That is because (i) other

court orders independently vacate and enjoin the 2024 Rule across the nation, (ii) the 2020 Rule’s

status stems from the independent enforcement decisions of the Department, and (iii) whether the

2020 Rule is applied reflects the decisions of third-party schools based on factors not before this

Court. Id.

        Second, the proposed-intervenors’ case for intervening after final judgment fails on its own

terms. Supra Part II. Intervening now, post-judgment, inflicts undue prejudice in light of the argu-

ments the parties previously pressed, the stage of the proceedings, and the months of notice proposed-

intervenors had of a need to protect their interests. The Center and Doe also have adequate legal

means to protect their interests against the 2020 Rule—namely, the Center’s still-live challenge to the

2020 Rule pending in the U.S. Court of Appeals for the First Circuit. And the multiple, overlapping

Title IX vacatur and injunction orders means intervention here will not resolve proposed-intervenors’

rights vis-à-vis the 2024 Rule, let alone streamline proceedings about the 2024 Rule’s legality. The

artificial posture of proposed-intervenors’ severability arguments likewise undermines their ability to

fully address the relevant legal arguments or obtain meaningful relief.

        Finally, because this Court should deny intervention, it also should deny the pending requests

for an extension of time to file an appeal from this Court’s final judgment vacating the 2024 Rule.

Supra Part III.




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         Dated: March 6, 2025                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of March 2025 a true and correct copy of the foregoing

document was served on all counsel of record via the Court’s electronic filing system, which provided

copies of the foregoing to all counsel of record.

                                                         /s/ Whitney D. Hermandorfer________
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